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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                  No. 4:97CR00243-02 JLH

DANIEL LEWIS LEE

                                             ORDER

        Daniel Lewis Lee has filed a motion for indicative ruling pursuant to Federal Rule of Civil

Procedure 62.1. The Court directs the United States of America to respond to that motion on or

before October 14, 2013. If Lee wishes to file a reply brief, he must do so within seven days after

the response is filed.

        IT IS SO ORDERED this 30th day of September, 2013.




                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
